  American Land Title Association                                                  ALTA Settlement Statement - Combined - Estimated
                                                                                                                Adopted 05-01-2015




                                                           CW Title and Escrow


                                             11201 SE 8th St, Suite 200 Bellevue, WA 98004
                                                           Phone: (425) 896-3800



  File No./Escrow No.: 40228977-803-BS4
  Print Date & Time: 6/24/2019 - 5:57:36PM
  Officer/Escrow Officer: Brandy Shell
  Settlement Location: 11201 SE 8th St, Suite 200 , Bellevue, WA 98004
  Property Address: 308 Balmer St SW, Orting, WA 98360, 7002460340
  Borrower:     Jay P Steiner
                Kristin A Steiner
  Seller:       Mario Carey
                Jenifer Carey
  Lender:       Guaranteed Rate
  Settlement Date: 8/30/2019
  Disbursement Date: 8/30/2019



              Seller                                           Description                                  Borrower/Buyer
     Debit             Credit                                                                             Debit          Credit
                                    Financial
                       393,000.00 Sale Price of Property                                                 393,000.00
                                    Loan Amount                                                                          395,700.00
      11,790.00                     Seller Credit                                                                         11,790.00


                                    Prorations/Adjustments
                           735.98 County Taxes 07/01/19 to 08/30/19                                          735.98


                                    Title Charges & Escrow/Settlement Charges
       1,280.40                     ALTA Homeowner's Policy 2-3-10 ($1,164.00 + $116.40 sales tax)
                                    ($393,000.00) to CW Title and Escrow
       1,061.50                     Settlement Fee ($1,930.00 + $193.00 sales tax) to CW Title and          1,061.50
                                    Escrow
            66.00                   Wire/UPS/Courier ($120.00 + $12.00 sales tax) to CW Title and             66.00
                                    Escrow


                                    Commission
       5,895.00                     Real Estate Commission to ReMax Integrity
       9,825.00                     Real Estate Commission to Better Homes & Garden Real Estate


                                    Government Recording and Transfer Charges


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             Seller                                          Description                   Borrower/Buyer
     Debit            Credit                                                             Debit        Credit
                                 Recording Fee For Mortgage to CW Title and Escrow          150.00
                                 Recording Fee For Deed to CW Title and Escrow              120.00
       7,000.40                  Excise Tax to Pierce County Treasurer


                                 Payoffs
    273,505.08                   Lender: Caliber Home Loans
                                      Principal Balance ($249,877.00)
                                      Interest From 07/23/2019 To 08/30/2019 $1,008.14
                                 ($26.53/day)
                                      Accured Interest $12,686.97
                                      RECONVEYANCE FEE $139.00
                                      Unpaid LATE Charges $440.64
                                      Unpaid Fee Balance $3,626.67
                                      Less Unapplied Funds -$1,915.83
                                      ESCROW BALANCE $7,637.49
                                      FAX FEE $5.00


                                 Miscellaneous
     79,500.00                   Bankruptcy to TRUSTEE
       1,000.00                  Est. HOA lien to Est. Meadows at Orting
       1,500.00                  EST. Lienable utilities to TBD


             Seller                                                                        Borrower/Buyer
     Debit            Credit                                                             Debit        Credit
    392,423.38        393,735.98 Subtotals                                               395,133.48   407,490.00
                                 Refund Due Buyer                                         12,356.52
       1,312.60                  Proceeds Due Seller
    393,735.98        393,735.98 Totals                                                  407,490.00   407,490.00




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